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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                       EUGENE DIVISION




UNITED STATES OF AMERICA,                                          Case No. 6:13-cr-00228-AA-1
                                                                            6:06-cr-60036-1-AA
                                                                      OPINION AND ORDER
                Plaintiff,

      vs.

CHRISTOPHER LYN SPARKS,

                Defendant.


AIKEN, District Judge:

      Before the Court is defendant Christopher Lyn Sparks’ unopposed Renewed

Motion to Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(1)(A)(i) (Compassionate

Release). Doc. 42.1 Specifically, the defendant requests that his sentence be reduced

immediately to one of time served. In 2013, defendant was sentenced to 144 months’

imprisonment and lifetime supervision for possessing child pornography and

admitting to supervised release violations. Defendant is serving his sentence at


      1   All record citations in this Opinion are to the docket in Case No. 6:13-cr-00228-AA-1.



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Federal Correctional Institution (“FCI”) Lompoc and has a projected release date of

April 1, 2023. In July 2021, defendant moved the Court to reduce his sentence to

time served. In August, the Court held oral argument on the motion and issued a

written order denying it without prejudice. In so doing, the Court acknowledged that

while defendant’s circumstances may have presented extraordinary and compelling

reasons for a sentence reduction, defendant’s circumstances did not warrant a

sentence reduction after considering applicable sentencing factors under § 3553(a).

The Court, however, invited defendant to renew his motion should circumstances

change. Id. at 7.

      Because defendants’ circumstances have in fact changed, defendant has

renewed his motion for compassionate release. The government does not object to

this request. On September 28, 2021, the Court held a hearing on the renewed motion

and granted the motion on the record for the following reasons.

                                    STANDARDS

      Under § 3582(c)(1)(A), a court may reduce a defendant’s sentence if it finds that

two conditions are met: (1) that “[e]xtraordinary and compelling reasons warrant

such a reduction” and (2) “that such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission.” If the court finds that those

conditions are met, before granting a sentence reduction, it must “consider[] the

factors set forth in [18 U.S.C.] § 3553(a) to the extent applicable[.]” 18 U.S.C. §

3582(c)(1)(A); see also United States v. Keller, 2 F.4th 1278, 1284 (9th Cir. 2021) (per

curiam) (“[A]lthough a district court must perform this sequential inquiry before it




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grants compassionate release, a district court that properly denies compassionate

release need not evaluate each step.”).         The Sentencing Commission’s policy

statement regarding sentence reductions under § 3582(c)(1)(A) is found at U.S.S.G.

§ 1B1.13.   On a defendant’s direct motion for compassionate release, the policy

statement “may inform a district court’s discretion . . . but [it is] not binding.” United

States v. Aruda, 993 F.3d 797, 802 (9th Cir. 2021). As a result, the court may consider

any extraordinary and compelling reason for release that a defendant might raise.

Id.

                                    DISCUSSION

      Defendant is a 56-year-old male with hypertension, chronic ear problems, and

bilateral inguinal hernias. Due to a lack of appropriate and necessary medical care

at FCI Lompoc, defendant is at risk of a myriad of severe and life-threatening

complications from his medical conditions.       Specifically, the lack of appropriate

follow-up for defendant’s ear infections has put him at an increased risk for

permanent hearing loss as well as potentially life-threatening complications due to

the proximity of the inner ear to the brain and sinuses. Aff. Dr. Ginsberg (doc. 42)

Ex. B, at 2. Similarly, the lack of adequate treatment for defendant’s hernias has put

him at risk of severe and potentially life-threatening complications, including

“incarceration,” when hernial contents obstruct the bowel, and “strangulation,” when

hernial contents compromise blood supply to a section of an organ or tissue. Id.

      Records from the Federal Bureau of Prisons (“BOP”) Health Services indicate

that defendant was seen in February 2020 for a left-sided inguinal hernia of 4x4 cm




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and a very painful right-sided inguinal hernia of 20x20 cm. Medical Records (doc. 42)

Ex. A, at 2. BOP requested a surgical consult with a target date of May 2020, but

defendant was not seen again for his hernias until February of 2021 when he was

“reassured” his consult would be scheduled. Id. Defendant returned to Health

Services in April 2021, and BOP requested another “urgent surgical consult.” Id. at

13, 16–17. In May 2021, defendant reported extreme pain from his hernias. Id. at

18. On June 1, 2021, BOP records indicate that defendant’s hernias “need[ed] urgent

repair.” Id. at 19. While BOP records do not show that a surgical consult took place,

notes from an August 17, 2021 visit with Health Services state that defendant was

“approved for surgery.” Id. at 22. But defendant’s medical records do not include a

target or scheduled date for that procedure.

      Dr. Jill Ginsberg, a board-certified family physician licensed and practicing in

Oregon, provided a sworn affidavit in support of defendant’s renewed motion. Doc.

43, Ex. B. Dr. Ginsberg observed that defendant’s right-sided hernia is roughly the

“size of a large cantaloupe.” Id. at 2. Although “small hernias are common, especially

in men,” a hernia of that size is atypical “among people with access to standard health

care because they are addressed long before they reach this size.” Id. Dr. Ginsberg

noted, “In my 30 years as a primary care physician I have never seen a hernia as

large as 20x20 cm.” Id. at 2–3. Dr. Ginsberg also provided a representative image

showing an inguinal hernia of a similar size to that of defendant’s hernia:




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Id. at 3 (representative image from Dr. Ginsberg’s report). One need only look at the

image to recognize that defendant requires immediate medical attention.            Dr.

Ginsberg also opined on the seriousness of defendant’s condition: “Given the lack of

appropriate medical attention [defendant] has received[,] I am concerned that a

complication such as hernia strangulation will go unrecognized and untreated, and

will lead to [defendant’s] death. Delaying medical care for this common and easily

treated condition is nothing short of torture.” Id.

      At the initial hearing, the Court expressed its concern regarding defendant’s

need for hernia surgery and the adequacy of medical care at FCI Lompoc. Despite

attempts by the United States Attorney’s Office to convey this concern to BOP and

urge BOP to act expeditiously on defendant’s surgery, defendant’s medical records do

not indicate that substantial progress has been made to schedule this potentially life-

saving procedure.

      On this record the Court finds that defendant’s medical condition has met the

“extraordinary and compelling reasons” criteria. Under the Sentencing Commission’s




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policy statement, circumstances that may present extraordinary and compelling

circumstances include “a serious physical or medical condition . . . that substantially

diminishes the ability of the defendant to provide self-care within the environment of

a correctional facility and from which he or she is not expected to recover.” U.S.S.G.

§ 1B1.13, cmt. n.1(B).     Because of FCI Lompoc’s failure to provide adequate

treatment, defendant’s ear infections and his hernias have deteriorated into serious

and potentially life-threatening conditions. While incarcerated, defendant has been

unable to obtain the typically routine follow-up visits needed to treat his ear

infections and the urgent surgery needed to repair his hernias.

      The Court also finds that the applicable factors under § 3553(a) support

reducing defendant’s sentence to time served and imposing additional terms of

supervised release to be determined once defendant’s medical needs are met. That

defendant committed the underlying offense while on federal supervision for the same

conduct after successfully completing more than a year of sex offender treatment

increases the gravity of his conduct. But, given that defendant has served roughly 70

percent of his 144-month sentence, during which he has had no access to sex offender

or other mental health treatment, coupled with the significant threat that

defendant’s incarceration at FCI Lompoc poses to his health, the Court finds that

reducing defendant’s sentence to time served and determining the conditions for

release once the Court is certain defendant’s medical needs are met provides for a

sentence that is “sufficient but not greater than necessary” to reflect the gravity and

seriousness of his offense, promote respect for the law, provide a just punishment,




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adequately deter criminal conduct, protect the public from future crimes at

defendant’s hands, and most effectively provide defendant with the medical care that

he needs, 18 U.S.C. § 3553(a).

                                  CONCLUSION

      The Court finds that defendant has established extraordinary and compelling

reasons to warrant a reduction of defendant’s sentence under 18 U.S.C.

§ 3582(c)(1)(A)(i). Defendant’s renewed motion (doc. 42) is therefore GRANTED, and

defendant’s sentence of imprisonment is reduced to time served. Defendant shall be

released to the NWRRC, and the conditions for his release will be discussed at the

status conference set for 11:00 a.m. on October 4, 2021.

      IT IS SO ORDERED.

                  29th day of September 2021.
      Dated this _____




                                   /s/Ann Aiken
                            __________________________
                                    Ann Aiken
                            United States District Judge




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